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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                 :            Hon. Tonianne J. Bonjiovanni


                  v.                     :            Mag. No. 23-3051


DECLAN GOLDEN                            :            ORDER MODIFYING
                                                      CONDITIONS OF
                                                      PRETRIAL RELEASE


         This matter having come before the Court on the application of the defendant

Declan Golden (Robert A. Honecker, Jr., Esq., appearing), with notice to Christopher

Fell, Assistant U.S. Attorney, and with notice to Todd Jones, Supervisory U.S.

Pretrial Services Officer, for an order granting a modification of the conditions of

pretrial release; it is hereby

         ORDERED that the conditions of pretrial release are hereby modified to

permit the Defendant to attend a dinner on September 21, 2023 from approximately

7:00 p.m. to 10:30 p.m. at The Butcher’s Block located at 235 West Avenue, Long

Branch, New Jersey; and


         IT IS FURTHER ORDERED that the third-party custodian, Meghan

Golden, shall be present with the Defendant for the entirety of the dinner.




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                                   s/ Tonianne J. Bongiovanni
                                  ____________________________________
                                  HON. TONIANNE J. BONGIOVANNI
                                  United States Magistrate Judge

                  21 2023
Dated: September ____,




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